Exhibit A
                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

MISSOURI PRIMATE FOUNDATION,                    )
et al.,                                         )
                                                )
    Plaintiff,                                  )
                                                ) Case No: 4:16-cv-2163-CDP
v                                               )
                                                )
PEOPLE FOR THE ETHICAL                          )
TREATMENT OF ANIMALS, INC., et                  )
al.                                             )
                                                )
    Defendant.                                  )

                                  NOTICE OF DEPOSITION

       TO:                    ALL ATTORNEYS OF RECORD

       DATE & TIME:           February 8, 2019, at 9:00 a.m.

       WITNESS
       TO BE DEPOSED:         Angela Scott

       PLACE OF
       DEPOSITION:            500 North Broadway, Suite 1550
                              St. Louis, MO 63102

       PLEASE TAKE NOTICE that on the above date, hour and place, the undersigned shall

cause the deposition of Angela Scott to be taken upon oral examination and pursuant to Federal

Rules of Civil Procedure before an officer appointed or designated under Rule 30. Any party or

their attorney may appear and participate as they see fit. Said deposition shall continue from day

to day, at the same location until completed.
      RYNEARSON SUESS SCHNURBUSCH
      CHAMPION, LLC.

BY:      /s/ Victor H. Essen, II
      Debbie S. Champion,          #38637MO
      Victor H. Essen, II,         #57629MO
      500 North Broadway, Suite 1550
      St. Louis, MO 63102
      314-421-4430 / FAX: 314-421-4431
      dchampion@rssclaw.com
      vessen@rssclaw.com
      Attorney for Plaintiff/Counter-Defendant
      Connie Braun Casey
                               CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a true and correct copy of the foregoing document
was emailed and mailed by First Class Mail, postage prepaid, on this 18th day of January 2019 to:

Martina Bernstein
PETA FOUNDATION
1536 16th Street NW
Washington, DC 20036
202-483-7382 / FAX: 202-540-2208
martinab@petaf.org
Attorney for Angela Scott and People for the Ethical Treatment of Animals, Inc.

Marissa Lauren Curran
James P. Martin
Kelly J. Muensterman
POLSINELLI PC
100 S. Fourth Street, Ste. 1000
St. Louis, MO 63102
314-889-8000 / FAX: 314-231-1776
mcurran@polsinelli.com
jmartin@polsinelli.com
kmuensterman@polsinelli.com
Attorney for Angela Scott and People for the Ethical Treatment of Animals, Inc.

Jared S. Goodman
PETA FOUNDATION
2154 W. Sunset Blvd.
Los Angeles, CA 90026
323-210-2266 / FAX: 213-484-1648
jaredg@petaf.org
Attorney for Angela Scott and People for the Ethical Treatment of Animals, Inc.

Geordie L. Duckler
9397 SW Locust St.
Tigard, OR 97223
503-546-8052
geordied@animallawpractice.com
Attorney for Andrew Sawyer
Patrick John Hanley
214 E. Fourth Street
Covington, KY 41011
859-240-5080 / FAX: 859-431-2194
p.hanley@att.net
Attorney for Vito Stramaeglia

                                   /s/ Victor H. Essen, II


cc:   LePage Reporting
